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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                              CASE NO. 1:04-cr-00006-MP-AK

KENNETH BERNARD MILES,

      Defendant.
___________________________/

                                           ORDER

       This matter came before the Court for sentencing on March 31, 2006. However, shortly

before the sentencing, the United States Marshal's office informed the Court that Dixie County

officials had not arranged to deliver Mr. Miles for his court appearance. A hearing was held

with attorneys Greg McMahon and George Blow regarding how to proceed. As stated in open

court, the sentencing in this case is hereby continued until April 12, 2006, at 1:00 p.m.

       DONE AND ORDERED this 3rd day of April, 2006


                                       s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge
